 Case 4:19-cv-02033-YGR Document 296-6 Filed 09/09/22 Page 1 of 10




          EXHIBIT 13
(REDACTED VERSION – CONDITIONALLY
               FILED UNDER SEAL)
                      Case 4:19-cv-02033-YGR Document 296-6 Filed 09/09/22 Page 2 of 10




                       From: SDM Exec Updates <                                        >
                     Subject: Thursday Update - Q1 Week 5
                Received(Date): Thu, 01 Nov 2018 17:49:57 -0700
                          To: Tim Cook <                     >, Jeff Williams
                                <                    >,Donal Conroy <                        >, Luca
                                Maestri <                   >,Saori Casey <              >, Kevan
                                Parekh <                    >,Sabih Khan <              >, Rory
                                Sexton <                   >,Tony Blevins <                 >, Daniel
                                Rosckes <                     >,Nick Forlenza <                  >,
                                Rob York <                 >,Brendan Lawry <                 >, Priya
                                Balasubramaniam <                     >,Mike Fisher
                                <                       >, Donny McFadyen
                                <                      >,Anish Patel <              >, Rob McDowell
                                <                     >,Karen Starkweather <                        >,
                                Thomas Paine <                    >,Anuj Saigal
                                <                 >,Michael Montgomery
                                <                                 >,Mike Lee <                      >,
                                Angela Chan <                          >,Janice Lin
                                <                    >, Matthew Costello <                     >
                 Attachment: PastedGraphic-30.png
                 Attachment: PastedGraphic-4.png
                 Attachment: Q12019 Supply Demand Summary Oct Wk5 FINAL.pdf
                 Attachment: FY19 Oct Consolidated Launch Summary Oct Wk5.pdf
                 Attachment: Q1-Q2 19 Total Summary Template TSQ119_V6.xlsx
                 Attachment: Q12019 Supply Demand Summary Oct Wk5 FINAL.xlsx
                 Attachment: FY19 Oct Consolidated Launch Summary Oct Wk5.xlsx
                        Date: Thu, 01 Nov 2018 17:49:57 -0700

               Tim, Jeff,

               Please see Thursday update below including Q1 projections and product updates.

               NPI updates are included at the bottom.

               Regards,

               Mike

               Q1 Projections:

               - iPhone: Proj. SI is 70.6M, -9% y/y, UB 64.6M, -9% y/y and ST 66.3M -9% y/y.

               - iPad: Proj. SI is 14.8M, 12% y/y and ST is 14.6M, 11% y/y. ST increased 87k driven




Highly Confidential                                                                             APL-SECLIT_00285251
                                                          1
                      Case 4:19-cv-02033-YGR Document 296-6 Filed 09/09/22 Page 3 of 10




               by iPad 6th Gen DG.

               - Mac: Proj. SI is 5.8M, +13% y/y, and ST is 5.5M, +8% y/y.

               - Watch: Proj SI is 8.9M, 28% y/y, and ST is 8.9M, 33% y/y.

               - iPod: Proj. SI is 0.7M, -23% y/y, and ST is 0.7M, -29% y/y.

               - Apple TV: Proj. SI is 1.5M, -14% y/y, and ST is 1.4M, -7% y/y.

               - Beats: Beats: Proj SI Plan is 5.3M, -13% y/y and ST is 5.3M, -11% y/y.

               - Accessories: Proj. SI is 49.6M, 24% y/y, and ST is 49.7M, 23% y/y.
               - Airpods: Proj. SI is 9.3M and ST is 9.8M.
               - HomePod: Proj. SI is 115k, and ST is 181k.

               Watch Series 4:
               - LTD performance is 1,934, (17% y/y vs Series 3 is highly constrained). Cellular mix is
               52% vs 53% last week.
               - AOS net bookings are 565k, 32% y/y. Dropping quotes to 1-2 wks on N141 and 1-2
               wks on N131 for US & China only.
               - Retail UB are 553k, 25% y/y. SL% are 57%, (64% LTE, 53% GPS).
               - Reseller UB are 698k, -1% y/y. Resellers are constrained, with wk4 velocity of 36%
               and strong across all Regions.

               Apple Pencil:
               - LTD bookings are 437k (81k Online, 2k Retail, 354k Reseller).- AOS attach is
               unchanged at 68%, slightly behind Q1 plan of 86%. This implies an all channel attach of
               ~49% vs our 52-62% range. Quotes remain ‘ships 7-10d’.
               - For 11/7 on-shelf we are projecting 299k landed which supports an effective attach rate
               of 60% against hero supply.

               iPad Smart Keyboard:
               - LTD bookings are 211k (51k Online, 2k Retail, 158k Reseller).
               - AOS attach remains 39% / 49% for the 11” / 12.9” Keyboards respectively, both ahead
               of plan (34% / 42%). Quotes remain ‘ships 7-10d’.
               - For 11/7 on-shelf we are projecting 227k landed (11”, 146k / 13”, 81k), which supports
               an effective attach rate of 42% / 54% against hero supply.

               iPad Pro NPI Cases:
               - LTD bookings are 159k (25k Online, 1k Retail, 133k Reseller).
               - AOS attach rate is 21% (28% Q1 plan). We expect quotes to remain at goal moving
               forward.

               Mac Supply Update (J113B & J132):
               - MBP 13” w/TB (J132) constrained through Q1 (see summary below)
               - MBAir 13” (J113B) supply is constraining DG activities, primarily in EMEIA




Highly Confidential                                                                             APL-SECLIT_00285252
                                                          2
                      Case 4:19-cv-02033-YGR Document 296-6 Filed 09/09/22 Page 4 of 10




               ______________________________________

               NPI Updates

               iPhone XR:

               - LTD UB is 1,545k (-60% vs. 8/8+)
               - LTD Performance (Direct Bookings + Reseller UB) is 1,555k (-59% vs 8/8+), 198k
               Online, 227k Retail, 1,130k Reseller
                   - 64/128/256gb NAND performance mix ex-demo is 45/47/8 vs. quarter plan of
               40/50/10
                   - Color performance mix ex-demo is 37/20/20/10/9/4
               (Black/White/Red/Blue/Coral/Yellow)
               - Current Q1 Reseller iPhone XR mBS is 18.7M, in addition to 20.9M for iPhone XS/XS
               Max
               - Quotes are at w24/SDS everywhere except some skus in AMR, expecting to be at
               Goal next week. WW retail service level is at 99%, will be 98-100% next week.

               iPhone XS/XS Max:
               - LTD UB is 12.9M (-3% vs iPhone X, -2% vs 8/8+). No significant change to program
               and NAND mix at 41/59 and 41/53/6.
               - Quotes and service levels are at Goal.

               iPad

               - As of 10 am, LTD bookings are 823k, -6% LoL.
               - Net Online bookings are 118k, 57% LoL. Orders are mixing slightly heavier towards
               13” Pro by 8% vs plan.
                   - Quotes for 49% of MPNs have pushed to 7-10days and 44% have pushed to 2-3
               weeks. We do not expect to push quotes beyond 2-3 weeks and are working to pull in
               the quotes from 2-3 weeks to 7-10 days.
               - Retail and Reseller on shelf begins on 11/7, with retail launch expected to launch at
               100% IS/SL, and to drop to 40-60% within the first week, projecting 499k landed for
               announce.
                   - Reseller LTD bookings are 698k, -11% LoL.

               Accessories

               Apple Pencil
               - LTD bookings are 437k (81k Online, 2k Retail, 354k Reseller).
               - AOS attach is unchanged at 68%, slightly behind Q1 plan of 86%. This implies an all
               channel attach of ~49% vs our 52-62% range. Quotes remain ‘ships 7-10d’.
               - For 11/7 on-shelf we are projecting 299k landed which supports an effective attach rate
               of 60% against hero supply.

               iPad Smart Keyboard




Highly Confidential                                                                             APL-SECLIT_00285253
                                                          3
                       Case 4:19-cv-02033-YGR Document 296-6 Filed 09/09/22 Page 5 of 10




               - LTD bookings are 211k (51k Online, 2k Retail, 158k Reseller).
               - AOS attach remains 39% / 49% for the 11” / 12.9” Keyboards respectively, both ahead
               of plan (34% / 42%). Quotes remain ‘ships 7-10d’.
               - For 11/7 on-shelf we are projecting 227k landed (11”, 146k / 13”, 81k), which supports
               an effective attach rate of 42% / 54% against hero supply.

               iPad Pro NPI Cases:
               - LTD bookings are 159k (25k Online, 1k Retail, 133k Reseller).
               - AOS attach rate is 21% (28% Q1 plan). We expect quotes to remain at goal moving
               forward.

               Mac

               - As of 10am, AOS net bookings were 18.1k for MBAir (behind plan), 8.5k for Mac Mini
               (on plan)
                   - MBAir and MacMini initial mix is trending inline with plan, except for MBAir is richer
               on Spc Gray.
               - Aside from a few MPNs, all BTR quotes remain at launch quote of “Ships by 11/6”.
               CTO changed to “3-5d” as planned. Plan to step down BTR/CTO to goal in Nov W1.
               - Retail and Reseller on-shelf begins on 11/7. Expect to launch and hold Retail at 100%
               SL for both programs, launch Reseller at 5WOS for J140 and 7 WOS for J174.
               - Overall Reseller BoB is higher than Wk5 ship plan with risk of 39k driven primarily by
               BBY (27k) due to forecast misalignment and PAC (4k China, 8k HK) due to high
               sustaining inventory and limited credit availability.

               Michael Montgomery

               Cell:




               Tim, Jeff,



               Please see Thursday update below including Q1 projections and product updates.

               NPI updates are included at the bottom.

               Regards,

               Mike

               Q1 Projections:

               - iPhone: Proj. SI is 70.6M, -9% y/y, UB 64.6M, -9% y/y and ST 66.3M -9% y/y.




Highly Confidential                                                                                APL-SECLIT_00285254
                                                            4
                      Case 4:19-cv-02033-YGR Document 296-6 Filed 09/09/22 Page 6 of 10




               - iPad: Proj. SI is 14.8M, 12% y/y and ST is 14.6M, 11% y/y. ST increased 87k driven
               by iPad 6th Gen DG.

               - Mac: Proj. SI is 5.8M, +13% y/y, and ST is 5.5M, +8% y/y.

               - Watch: Proj SI is 8.9M, 28% y/y, and ST is 8.9M, 33% y/y.

               - iPod: Proj. SI is 0.7M, -23% y/y, and ST is 0.7M, -29% y/y.

               - Apple TV: Proj. SI is 1.5M, -14% y/y, and ST is 1.4M, -7% y/y.

               - Beats: Beats: Proj SI Plan is 5.3M, -13% y/y and ST is 5.3M, -11% y/y.

               - Accessories: Proj. SI is 49.6M, 24% y/y, and ST is 49.7M, 23% y/y.

               - Airpods: Proj. SI is 9.3M and ST is 9.8M.

               - HomePod: Proj. SI is 115k, and ST is 181k.

               Watch Series 4:

               - LTD performance is 1,934, (17% y/y vs Series 3 is highly constrained). Cellular mix is
               52% vs 53% last week.

               - AOS net bookings are 565k, 32% y/y. Dropping quotes to 1-2 wks on N141 and 1-2
               wks on N131 for US & China only.

               - Retail UB are 553k, 25% y/y. SL% are 57%, (64% LTE, 53% GPS).

               - Reseller UB are 698k, -1% y/y. Resellers are constrained, with wk4 velocity of 36%
               and strong across all Regions.

               Apple Pencil:

               - LTD bookings are 437k (81k Online, 2k Retail, 354k Reseller).

               - AOS attach is unchanged at 68%, slightly behind Q1 plan of 86%. This implies an all
               channel attach of ~49% vs our 52-62% range. Quotes remain ‘ships 7-10d’.

               - For 11/7 on-shelf we are projecting 299k landed which supports an effective attach rate
               of 60% against hero supply.

               iPad Smart Keyboard:

               - LTD bookings are 211k (51k Online, 2k Retail, 158k Reseller).




Highly Confidential                                                                             APL-SECLIT_00285255
                                                             5
                      Case 4:19-cv-02033-YGR Document 296-6 Filed 09/09/22 Page 7 of 10




               - AOS attach remains 39% / 49% for the 11” / 12.9” Keyboards respectively, both ahead
               of plan (34% / 42%). Quotes remain ‘ships 7-10d’.

               - For 11/7 on-shelf we are projecting 227k landed (11”, 146k / 13”, 81k), which supports
               an effective attach rate of 42% / 54% against hero supply.

               iPad Pro NPI Cases:

               - LTD bookings are 159k (25k Online, 1k Retail, 133k Reseller).

               - AOS attach rate is 21% (28% Q1 plan). We expect quotes to remain at goal moving
               forward.

               Mac Supply Update (J113B & J132):

               - MBP 13” w/TB (J132) constrained through Q1 (see summary below)

               - MBAir 13” (J113B) supply is constraining DG activities, primarily in EMEIA


               ______________________________________

               NPI Updates

               iPhone XR:

               - LTD UB is 1,545k (-60% vs. 8/8+)

               - LTD Performance (Direct Bookings + Reseller UB) is 1,555k (-59% vs 8/8+), 198k Online,
               227k Retail, 1,130k Reseller

               - 64/128/256gb NAND performance mix ex-demo is 45/47/8 vs. quarter plan of 40/50/10

               - Color performance mix ex-demo is 37/20/20/10/9/4 (Black/White/Red/Blue/Coral/Yellow)

               - Current Q1 Reseller iPhone XR mBS is 18.7M, in addition to 20.9M for iPhone XS/XS
               Max

               - Quotes are at w24/SDS everywhere except some skus in AMR, expecting to be at Goal
               next week. WW retail service level is at 99%, will be 98-100% next week.

               iPhone XS/XS Max:

               - LTD UB is 12.9M (-3% vs iPhone X, -2% vs 8/8+). No significant change to program and
               NAND mix at 41/59 and 41/53/6.

               - Quotes and service levels are at Goal.




Highly Confidential                                                                             APL-SECLIT_00285256
                                                          6
                      Case 4:19-cv-02033-YGR Document 296-6 Filed 09/09/22 Page 8 of 10




               iPad

               - As of 10 am, LTD bookings are 823k, -6% LoL.

               - Net Online bookings are 118k, 57% LoL. Orders are mixing slightly heavier towards 13” Pro
               by 8% vs plan.

               - Quotes for 49% of MPNs have pushed to 7-10days and 44% have pushed to 2-3 weeks. We do
               not expect to push quotes beyond 2-3 weeks and are working to pull in the quotes from 2-3
               weeks to 7-10 days.

               - Retail and Reseller on shelf begins on 11/7, with retail launch expected to launch at 100%
               IS/SL, and to drop to 40-60% within the first week, projecting 499k landed for announce.

               - Reseller LTD bookings are 698k, -11% LoL.

               Accessories

               Apple Pencil

               - LTD bookings are 437k (81k Online, 2k Retail, 354k Reseller).

               - AOS attach is unchanged at 68%, slightly behind Q1 plan of 86%. This implies an all channel
               attach of ~49% vs our 52-62% range. Quotes remain ‘ships 7-10d’.

               - For 11/7 on-shelf we are projecting 299k landed which supports an effective attach rate of 60%
               against hero supply.

               iPad Smart Keyboard

               - LTD bookings are 211k (51k Online, 2k Retail, 158k Reseller).

               - AOS attach remains 39% / 49% for the 11” / 12.9” Keyboards respectively, both ahead of plan
               (34% / 42%). Quotes remain ‘ships 7-10d’.

               - For 11/7 on-shelf we are projecting 227k landed (11”, 146k / 13”, 81k), which supports an
               effective attach rate of 42% / 54% against hero supply.

               iPad Pro NPI Cases:

               - LTD bookings are 159k (25k Online, 1k Retail, 133k Reseller).

               - AOS attach rate is 21% (28% Q1 plan). We expect quotes to remain at goal moving forward.

               Mac




Highly Confidential                                                                                      APL-SECLIT_00285257
                                                               7
                       Case 4:19-cv-02033-YGR Document 296-6 Filed 09/09/22 Page 9 of 10




               - As of 10am, AOS net bookings were 18.1k for MBAir (behind plan), 8.5k for Mac Mini (on
               plan)

               - MBAir and MacMini initial mix is trending inline with plan, except for MBAir is richer on Spc
               Gray.

               - Aside from a few MPNs, all BTR quotes remain at launch quote of “Ships by 11/6”. CTO
               changed to “3-5d” as planned. Plan to step down BTR/CTO to goal in Nov W1.

               - Retail and Reseller on-shelf begins on 11/7. Expect to launch and hold Retail at 100% SL for
               both programs, launch Reseller at 5WOS for J140 and 7 WOS for J174.

               - Overall Reseller BoB is higher than Wk5 ship plan with risk of 39k
                                                   and PAC (4k China, 8k HK) due to high sustaining inventory
               and limited credit availability.




               Michael Montgomery



               Cell:




Highly Confidential                                                                                    APL-SECLIT_00285258
                                                              8
                      Case 4:19-cv-02033-YGR Document 296-6 Filed 09/09/22 Page 10 of 10




Highly Confidential                                                                  APL-SECLIT_00285262
                                                      9
